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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
Kenneth K. Henderson et al                                   CASE NUMBER

                                                                           SACV20-1630-RSWL(PVC)
                                              PLAINTIFF(S)
                             v.
                                                              NOTICE OF FILING OF COMPLAINT WITHOUT
Exxon-Mobil et al                                                  PREPAYMENT OF FILING FEES OR
                                                              REQUEST TO PROCEED IN FORMA PAUPERIS
                                             DEFENDANT(S)



        Plaintiff has submitted a complaint for filing. The filing fee has not been paid, nor has a Request to
Proceed in Forma Pauperis been submitted. The case has been forwarded to the assigned magistrate judge for
review.




                August 28, 2020                      By C. Sawyer
                    Date                                Deputy Clerk




CV-93 (12/14)               NOTICE OF FILING OF COMPLAINT WITHOUT PREPAYMENT OF FILING FEES
                                        OR REQUEST TO PROCEED IN FORMA PAUPERIS
